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                                                                          4
                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)      )           MDL No. 1917
                                                                          8   ANTITRUST LITIGATION               )
                                                                                                                 )           Case No. C-07-5944-SC
                                                                          9                                      )
                                                                                                                 )           ORDER DENYING BEST BUY'S
                                                                         10   This Order Relates To:             )           OBJECTIONS TO THE SPECIAL
                               For the Northern District of California
United States District Court




                                                                                                                 )           MASTER'S ORDER GRANTING IN
                                                                         11   Best Buy Co., Inc., et al. v.      )           PART AND DENYING IN PART
                                                                              Hitachi, Ltd., et al., No. 11-cv- )            MOTION FOR PROTECTIVE ORDER
                                                                         12   05513-SC;                          )
                                                                                                                 )
                                                                         13   Best Buy Co., Inc., et al. v.      )
                                                                              Technicolor SA, et al., No. 13-cv- )
                                                                         14   05264-SC                           )
                                                                                                                 )
                                                                         15                                      )
                                                                                                                 )
                                                                         16                                      )
                                                                         17
                                                                         18   I.      INTRODUCTION
                                                                         19           Now before the Court is Direct Action Plaintiffs ("DAPs") the
                                                                         20   Best Buy entities'1 ("Best Buy") objection to the Special Master's2
                                                                         21   Order ("Order") granting in part and denying in part Best Buy's
                                                                         22   motion for protective order.         ECF No. 2689 ("Objection") (filed
                                                                         23
                                                                         24   1
                                                                                The Best Buy entities are Best Buy Co, Inc., Best Buy Purchasing
                                                                         25   LLC, Best Buy Enterprise Services, Inc., Best Buy Stores, L.P.,
                                                                              BestBuy.Com, LLC, and Magnolia Hi-Fi, LLC. ECF No. 2689
                                                                         26   ("Objection") at 1 n.1.
                                                                              2
                                                                         27     On December 17, 2013 the Court appointed the Honorable Vaughn R.
                                                                              Walker, United States District Judge (Retired), as a Special Master
                                                                         28   to assist the Court with discovery matters. ECF No. 2272.
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                                                                          1   under seal).3      Defendants oppose Best Buy's objection, and argue
                                                                          2   the Court should deny the objection and affirm the Special Master's
                                                                          3   order.     ECF No. 2685 ("Response").        Although Best Buy requests the
                                                                          4   Court order a hearing and set a briefing schedule as permitted by
                                                                          5   Local Rule 72-2, the Court finds neither is necessary.                 See Civ.
                                                                          6   L.R. 72-2 ("Unless otherwise ordered by the assigned District
                                                                          7   Judge, no response need be filed and no hearing will be held
                                                                          8   concerning the motion.        The District Judge may deny the motion by
                                                                          9   written order at any time . . . .").           As a result, Best Buy's
                                                                         10   objection is ripe for disposition without oral argument.                Civ. L.R.
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                                                                         11   7-1(b).      As set forth below, the Court AFFIRMS the Special Master
                                                                         12   and DENIES the objection.
                                                                         13
                                                                         14   II.     BACKGROUND
                                                                         15           The parties are familiar with the factual and procedural
                                                                         16   background of the case, so an exhaustive review is unnecessary.
                                                                         17   The facts relevant to the motion are set forth below.              Defendants
                                                                         18   are allegedly manufacturers of cathode ray tubes ("CRTs") and, in
                                                                         19   some cases, of finished products as well.            Best Buy, along with the
                                                                         20   other DAPs, alleges that Defendants conspired to fix prices for
                                                                         21   CRTs.     The DAPs do not allege that Defendants conspired to fix the
                                                                         22
                                                                              3
                                                                         23     Best Buy previously filed an objection to the Special Master's
                                                                              order that exceeded the five page limit under Civil Local Rule 72-
                                                                         24   2. ECF No. 2677. After Defendants pointed out the issue, Best Buy
                                                                              filed an amended version. ECF No. 2689. The Court's order
                                                                         25   appointing the discovery master sets forth the procedure for
                                                                              objections to the Special Master's orders and incorporates the
                                                                         26   procedures (including page limits) contained in Civil Local Rule
                                                                              72-2. ECF No. 2272, at 4-5. Accordingly, Best Buy's earlier
                                                                         27   objection is STRICKEN except for the accompanying Declaration of
                                                                              David Martinez and exhibits containing the record necessary for the
                                                                         28   Court's review of the Special Master's order. ECF No. 2677-1
                                                                              (filed under seal).


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                                                                          1   prices of products containing CRTs.       Each DAP alleges that it
                                                                          2   bought at least one CRT product from a defendant or an entity owned
                                                                          3   or operated by a defendant.
                                                                          4        On May 16, 2014, Best Buy filed a motion for a protective
                                                                          5   order barring discovery into Best Buy's competitive intelligence
                                                                          6   practices before the Special Master.        ECF No. 2677-1 ("Martinez
                                                                          7   Decl.") Ex. 1 ("Mot.") at 1 (filed under seal).          The competitive
                                                                          8   intelligence practices are a part of Best Buy's broader price match
                                                                          9   guarantee program, by which Best Buy agrees to match any lower
                                                                         10   prices offered by their competitors.        Mot. at 2.    These practices
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                                                                         11   amount to: (1) contacting competitors to confirm customers'
                                                                         12   pricing, (2) monitoring competitor advertisements and other records
                                                                         13   publicly displaying pricing information, and (3) subscribing to
                                                                         14   industry analyst reports and attending analyst calls.           Id.
                                                                         15        Defendants seek two forms of discovery into Best Buy's
                                                                         16   competitive intelligence practices.       First, they seek to depose
                                                                         17   Best Buy's Rule 30(b)(6) designee regarding Best Buy's:
                                                                         18
                                                                                   [P]ractices, policies and procedures concerning Your
                                                                         19        market monitoring activities for CRT Finished Products
                                                                                   including, but not limited to the following: (a) Your
                                                                         20        competitive intelligence activities; (b) Your use of
                                                                                   third-party data sources and market share/data analyses;
                                                                         21        and (c) Your knowledge, use and tracking of Your
                                                                                   competitor's [sic] pricing for CRT Finished Products
                                                                         22        during the Relevant Time Period . . . .
                                                                         23
                                                                         24   Objection at 2-3.    Second, Defendants propounded two
                                                                         25   interrogatories also seeking information regarding the competitive
                                                                         26   intelligence practices, including (1) the participation of Best
                                                                         27   Buy's executives in the competitive intelligence practices or other
                                                                         28   market monitoring activities, and (2) Best Buy's "executives',



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                                                                          1   employees', or agents' participation in any meetings with [Best
                                                                          2   Buy's] competitors."     Id. at 3.
                                                                          3        In the briefing before the Special Master, Best Buy argued
                                                                          4   that the information sought in these requests was irrelevant under
                                                                          5   Supreme Court precedent and subsequent case law, and, even if
                                                                          6   relevant, the burden of ordering discovery outweighed any potential
                                                                          7   benefit.   Mot. at 4-9.    Defendants disagreed, arguing that the
                                                                          8   information sought was both relevant and discoverable.              Martinez
                                                                          9   Decl. Ex. 2 ("Opp'n") at 2 (filed under seal).         After a telephone
                                                                         10   conference on June 23, 2014 at which both Best Buy and Defendants'
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                                                                         11   counsel were heard, the Special Master issued an order denying Best
                                                                         12   Buy's motion as to the Rule 30(b)(6) deposition and granting a
                                                                         13   protective order as to the interrogatories.         On July 7, 2014, Best
                                                                         14   Buy filed an objection with the Court seeking review of the Special
                                                                         15   Master's order.    ECF No. 2677.
                                                                         16
                                                                         17   III. LEGAL STANDARDS
                                                                         18        A.    Review of Orders by the Special Master
                                                                         19        The Court reviews the Special Master's factual findings for
                                                                         20   clear error, his legal conclusions de novo, and his procedural
                                                                         21   decisions for abuse of discretion.        Fed. R. Civ. P. 53(f)(3)-(5);
                                                                         22   ECF No. 302 (appointing the initial special master).
                                                                         23        B.    Motion for Protective Order
                                                                         24        Federal Rule of Civil Procedure 26(c) permits the Court, upon
                                                                         25   a showing of good cause, to "issue an order to protect a party or
                                                                         26   person from annoyance, embarrassment, oppression, or undue burden
                                                                         27   or expense."   The Court must undertake a two-step inquiry in
                                                                         28   deciding whether the information sought is discoverable.             First,



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                                                                          1   the Court must determine if the material sought is "relevant to any
                                                                          2   party's claim or defense."      Id. at (b)(1).     Such evidence need not
                                                                          3   be clearly admissible at trial so long as the request is
                                                                          4   "reasonably calculated to lead to the discovery of admissible
                                                                          5   evidence."   Id.   Second, the Court must weigh the burden of the
                                                                          6   discovery sought against its likely benefit.         Id. at
                                                                          7   (b)(2)(C)(iii).
                                                                          8
                                                                          9   IV.   DISCUSSION
                                                                         10         While Best Buy's objection dices the issues differently, their
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                                                                         11   objection challenges the Special Master's answers to two key
                                                                         12   questions.   First, is evidence of how Best Buy's competitive
                                                                         13   intelligence practices function relevant, particularly              given the
                                                                         14   Supreme Court's decision in Kiefer-Stewart Co. v. Joseph E. Seagram
                                                                         15   & Sons, Inc., 340 U.S. 211 (1951) and subsequent case law?             Second,
                                                                         16   if such evidence is relevant, does the burden of discovery outweigh
                                                                         17   its likely benefit?     The Court reviews the Special Master's
                                                                         18   decisions on both questions de novo.
                                                                         19         A. Relevance of the Competitive Intelligence Program
                                                                         20         First, Best Buy argues, citing the Supreme Court's decision in
                                                                         21   Kiefer-Stewart and subsequent cases, that the evidence sought is
                                                                         22   irrelevant because "[i]t is black letter law that evidence of an
                                                                         23   antitrust plaintiff's own conduct is irrelevant and cannot excuse
                                                                         24   the defendants' conspiratorial conduct."        Mot. at 5 (citing Perma
                                                                         25   Life Mufflers v. Int'l Parts Corp., 392 U.S. 134, 139-40 (1968);
                                                                         26   Kiefer-Stewart, 340 U.S. at 214, overruled on other grounds,
                                                                         27   Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752, 781-82
                                                                         28   (1984); Memorex Corp. v. IBM Corp., 555 F.2d 1379, 1381-82 (9th



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                                                                          1   Cir. 1977); Wilk v. Am. Med. Ass'n, 719 F.2d 207, 232 (7th Cir.
                                                                          2   1983)).   Anticipating some of Defendants' arguments in opposition,
                                                                          3   Best Buy cites cases from other district courts rejecting several
                                                                          4   arguments as to the relevance of a plaintiff's communications with
                                                                          5   third parties or sales practices.         See, e.g., In re Polyester
                                                                          6   Staple Antitrust Litig., No. 3:03CV1516, 2005 WL 6457181, at *4
                                                                          7   (W.D.N.C. May 9, 2005) (rejecting relevance argument based on the
                                                                          8   need to "rebut any inference that communication amongst competitors
                                                                          9   necessarily means the parties are engaging in an illegal
                                                                         10   conspiracy"); In re Auto. Refinishing Paint Antitrust Litig., No.
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                                                                         11   MDL 1426, 2006 WL 1479819, at *8 (E.D. Pa. May 26, 2006) (casting
                                                                         12   aside the contention that discovery might show, inter alia, the
                                                                         13   highly competitive nature of the relevant industry, and the prices
                                                                         14   that "Defendants may have charged in a 'but for' world"); In re
                                                                         15   Aspartame Antitrust Litig., No. 2:06-CV-1732-LDD, 2008 WL 2275528,
                                                                         16   at *4 (E.D. Pa. Apr. 8, 2008) (denying a motion to compel as to
                                                                         17   plaintiffs' communications with third parties despite the argument
                                                                         18   such communications were relevant to show "buying power, market
                                                                         19   position and demand elasticity").         Finally, Best Buy argues that
                                                                         20   the policy concerns underlying the antitrust laws would be
                                                                         21   undermined by permitting discovery into downstream activities.
                                                                         22   Mot. at 7 (citing Meijer, Inc. v. Abbott Labs., 251 F.R.D. 431,
                                                                         23   433-34 (N.D. Cal. 2008)).
                                                                         24        In opposition, Defendants offer three reasons why the
                                                                         25   discovery they seek is relevant.       First, Defendants argue that
                                                                         26   discovery into the competitive intelligence program is relevant
                                                                         27   because it shows how Best Buy and their competitors priced their
                                                                         28   products.   Opp'n at 2.    This is likely to lead to the discovery of



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                                                                          1   admissible evidence here, Defendants contend, because the indirect
                                                                          2   purchaser plaintiffs ("IPPs") claim that Best Buy and other
                                                                          3   retailers passed on 100 percent of the conspiratorial CRT
                                                                          4   overcharges and because Best Buy is likely to be an important
                                                                          5   third-party witness in the IPPs' case.        Id.   Second, Defendants
                                                                          6   claim that discovery into the competitive intelligence program is
                                                                          7   relevant to Best Buy's ability to show injury-in-fact.              Id. at 10-
                                                                          8   11.   Finally, Defendants contend that the discovery sought is
                                                                          9   relevant as it will enable them to rebut charges by Best Buy (or
                                                                         10   other plaintiffs) that competitor contacts and price monitoring is
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                                                                         11   indicative of a conspiracy.      Id. at 11-13.      In support of these
                                                                         12   arguments Defendants rely principally on two cases.          First, they
                                                                         13   cite to Judge Illston's orders, also involving Best Buy's
                                                                         14   competitive intelligence practices, in the In re TFT-LCD Flat Panel
                                                                         15   Antitrust Litigation, No. 07-MD-1827 (N.D. Cal.).          In the TFT
                                                                         16   cases, Best Buy submitted to discovery on their competitive
                                                                         17   intelligence practices, the Court denied a motion in limine to
                                                                         18   exclude evidence obtained regarding those practices, and the
                                                                         19   evidence was admitted in both the direct purchaser trial and
                                                                         20   individual opt-out trials.      Opp'n at 11-12, n.38 (citing 07-MD-1827
                                                                         21   (N.D. Cal.) ECF Nos. 5776, 8298).         Second, Defendants argue that In
                                                                         22   re Urethane Antitrust Litigation, No. 04-MD-1616-JWL, 2010 WL
                                                                         23   5287675 (D. Kan. Dec. 17, 2010) is "precisely on point."             Opp'n at
                                                                         24   12.   In Urethane, the Magistrate Judge granted a motion to compel
                                                                         25   responses to discovery requests seeking information related to
                                                                         26   plaintiffs' communications with competitors, finding that the
                                                                         27   information sought was potentially relevant to "refute plaintiffs'
                                                                         28   claims that similar conduct by defendants is indicative of



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                                                                          1   collusion."      Id. at *5; see also In re Urethane Antitrust Litig.,
                                                                          2   No. 04-1616-JWL, 2011 WL 1327988, at *5-6 (D. Kan. Apr. 5, 2011)
                                                                          3   (affirming the Magistrate's decision).
                                                                          4           In his order, the Special Master rejected Best Buy's argument
                                                                          5   that the discovery sought was irrelevant.            Specifically, the
                                                                          6   Special Master found that:
                                                                          7           Discovery directed to the settling of prices for finished
                                                                                      products charged by Best Buy and other retailers could
                                                                          8           well lead to discovery of relevant evidence concerning
                                                                                      the extent to which, if at all, alleged overcharges were
                                                                          9           passed on by Best Buy and/or by entities above Best Buy
                                                                                      in the distribution channels for products containing CRTs
                                                                         10           as well as both the fact of damages and their amounts, if
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                                                                                      any.
                                                                         11
                                                                         12   Order at 1.      In doing so, the Special Master disagreed with Best
                                                                         13   Buy's reliance on Kiefer-Stewart and other cases discussing
                                                                         14   discovery into an antitrust plaintiff's practices and competitor
                                                                         15   contacts.      Id.   Nonetheless, the Special Master did remark that
                                                                         16   subpart (g) of Interrogatory No. 16, which requests Best Buy
                                                                         17   identify its "executives', employees' and agents' participation in
                                                                         18   any meetings with" competitors, "seems foreclosed by the Keifer-
                                                                         19   Stewart line of cases."        Id. at 2.
                                                                         20           The Court agrees with the Special Master in every relevant
                                                                         21   respect.4      Here, the discovery sought is relevant for three
                                                                         22   4
                                                                                The Court does question the Special Master's conclusion that the
                                                                         23   type of inquiry in Interrogatory No. 16(g) would be barred by the
                                                                              Kiefer-Stewart line of cases. The Court would agree with this view
                                                                         24   were it to find, as it seems the Special Master did, that discovery
                                                                              into Best Buy's competitive intelligence practices is relevant only
                                                                         25   as to the issues of pass-through and damages. However the Court
                                                                              goes a step further than the Special Master and finds that the
                                                                         26   discovery sought by Defendants is also relevant to rebut any
                                                                              charges that competitive contacts and price monitoring are
                                                                         27   circumstantial evidence of an illegal conspiracy. See Urethane,
                                                                              2011 WL 1327988, at *6. Nonetheless, as discussed infra, the Court
                                                                         28   concurs with the Special Master's weighing of the burdens and
                                                                              benefits of Defendant's interrogatories. Therefore, the Special


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                                                                          1   reasons.
                                                                          2          First, the Court concurs with the Special Master's conclusion
                                                                          3   that Kiefer-Stewart and its progeny do not bar all discovery into
                                                                          4   an antitrust plaintiff's activities.        Specifically, Kiefer-Stewart
                                                                          5   concluded that antitrust violations by a plaintiff cannot immunize
                                                                          6   defendants from liability for their own violations.          340 U.S. at
                                                                          7   214.   While the subsequent cases cited by Best Buy apply various
                                                                          8   aspects of that principle to the discovery context, Best Buy has
                                                                          9   not offered any support for the blanket contention that an
                                                                         10   antitrust plaintiff's activities are always irrelevant and outside
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                                                                         11   the scope of discovery.     To the contrary, as one of Best Buy's
                                                                         12   cases concluded, information about plaintiffs' activities is
                                                                         13   relevant in cases, such as this one, where the amount of any pass-
                                                                         14   through to indirect purchasers is likely to be an issue.            See,
                                                                         15   e.g., Polyester Staple, 2005 WL 6457181, at *4-5 (concluding that
                                                                         16   discovery into downstream activities by plaintiffs was potentially
                                                                         17   relevant to the amount of any pass-through).         Simply because
                                                                         18   Defendants cannot claim that Best Buy's activities immunize them
                                                                         19   from liability does not mean the information sought cannot be
                                                                         20   relevant for other purposes.
                                                                         21          Second, and relatedly, Best Buy's argument that "the policy
                                                                         22   precluding discovery into an antitrust plaintiff's conduct bars
                                                                         23   Defendants' discovery irrespective of any relevance" also fails.
                                                                         24   Objection at 4.    It may be true that the policy underlying the
                                                                         25   antitrust laws militates against permitting broad discovery against
                                                                         26   antitrust plaintiffs where, for instance, the discovery sought
                                                                         27
                                                                         28   Master's decision granting in part and denying in part the motion
                                                                              need not be disturbed.


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                                                                          1   would simply enable the defendant to shift attention away from an
                                                                          2   otherwise illegal and actionable scheme or assert an improper pass-
                                                                          3   on defense.   However such a policy is not implicated in this case.
                                                                          4   Unlike the situation at issue in the cases cited by Best Buy, here
                                                                          5   discovery about the downstream pricing activities of Best Buy is
                                                                          6   not being sought to allege a price fixing conspiracy by Best Buy.
                                                                          7   Accordingly, permitting discovery here does not run the risk of
                                                                          8   chilling private enforcement of the antitrust laws, as in the cases
                                                                          9   offered by Best Buy.    See, e.g., Perma Life Mufflers, 392 U.S. at
                                                                         10   139-40; Meijer, 251 F.R.D. at 433-34.       Instead, Defendants are
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                                                                         11   seeking the instant discovery because it is directly relevant to
                                                                         12   the question of how, and in what amount, any potential overcharges
                                                                         13   were passed through to other plaintiffs.
                                                                         14        Best Buy dedicates much of its reply brief and objection to
                                                                         15   two remaining points.     First, Best Buy contends that discovery into
                                                                         16   the results of the competitive intelligence practices, which they
                                                                         17   concede might be relevant, would simply be duplicative given the
                                                                         18   extent of previous discovery on pass-through.         Second, Best Buy
                                                                         19   argues that the court should distinguish between this allegedly
                                                                         20   completed discovery on pass-through and discovery into "how Best
                                                                         21   Buy obtained competitor information," which they argue is wholly
                                                                         22   irrelevant.   The Court is unmoved.       First, Best Buy's complaints
                                                                         23   about having already submitted to discovery into its pricing
                                                                         24   practices and their relevance to the pass-through issue go to the
                                                                         25   Court's weighing of the benefits and burdens of discovery -- not to
                                                                         26   the relevance issue.    Second, even if the distinction between the
                                                                         27   pass-through itself and "how" the competitive intelligence program
                                                                         28   works were a meaningful one, that distinction would only undermine



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                                                                          1   Defendants' arguments as to pass-through and damages.          Evidence of
                                                                          2   how the competitive intelligence program operates might still be
                                                                          3   admissible (or at least lead to the discovery of admissible
                                                                          4   evidence) at trial to rebut allegations that competitor contacts
                                                                          5   and price monitoring are indicative of the existence of a
                                                                          6   conspiracy as they were in TFT.      See also Urethane, 2011 WL
                                                                          7   1327988, at *6.
                                                                          8        As a result the Court concurs with the Special Master's
                                                                          9   findings as to the relevance of the discovery sought here.          The
                                                                         10   discovery sought by Defendants is relevant to the issues of pass-
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                                                                         11   through, injury, and to rebut any argument that competitor
                                                                         12   communications and price monitoring are indicative of an improper
                                                                         13   conspiracy.
                                                                         14        B.   Weighing the Burdens and Benefits of Discovery
                                                                         15        Next, the Court must weigh the burden of discovery against its
                                                                         16   likely benefits.    Fed. R. Civ. P. 26(b)(2)(C)(iii).        In doing so,
                                                                         17   the Court considers "the needs of the case, the amount in
                                                                         18   controversy, the parties' resources, the importance of the issues
                                                                         19   at stake in the action, and the importance of discovery in
                                                                         20   resolving those issues."     Id.
                                                                         21        In Best Buy's briefing before the Special Master, it argued
                                                                         22   that because it has already submitted to prior discovery on the
                                                                         23   issue of pass-through and competitive contacts, the burden of
                                                                         24   discovery is greater than its likely benefit.         Specifically, Best
                                                                         25   Buy points to a 2012 document production and prior 30(b)(6)
                                                                         26   deposition involving information relevant to Best Buy's pricing and
                                                                         27   "the competitive landscape," as rendering the current requests
                                                                         28   duplicative and burdensome.      Mot. at 2-3.    Further, they complain



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                                                                          1   that the 30(b)(6) deposition at issue involves 26 topics, including
                                                                          2   "dozens of sub-topics."      Id. at 9.    Defendants counter, noting the
                                                                          3   enormous financial stakes in this case, and contending that Best
                                                                          4   Buy mischaracterized the extent of discovery already taken in this
                                                                          5   case.    Opp'n at 2-3, 14.   Specifically, they note that "[t]here is
                                                                          6   nothing extraordinary or burdensome about requiring a corporate
                                                                          7   plaintiff to submit to a deposition, even if it involves multiple
                                                                          8   days or deponents, particularly where, as here, a discovery
                                                                          9   protocol explicitly allows just such a scenario."         Id. at 14.
                                                                         10   Furthermore, Best Buy complains that in the time since the Special
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                                                                         11   Master's order, Defendants have noticed four more depositions which
                                                                         12   they apparently intend to take between now and September 5, 2014.
                                                                         13   Objection at 3.
                                                                         14           The Special Master concluded that while the burden of
                                                                         15   responding to Defendants' interrogatories outweighed the benefits,
                                                                         16   the same was not true with regard to the 30(b)(6) deposition.          The
                                                                         17   Court agrees.    First, and most importantly, as the Court has
                                                                         18   already concluded, the discovery sought here is relevant and
                                                                         19   important not just to parties' claims or defenses, but to one of
                                                                         20   the most central remaining issues in the litigation -- the question
                                                                         21   of pass-through.    Given the centrality of this issue to the case,
                                                                         22   the Court is loath to deny discovery on the issue to any party.
                                                                         23   Second, as mentioned above, the amount in controversy in this case
                                                                         24   is enormous, and, as in any complex multidistrict litigation, the
                                                                         25   parties have all submitted to and propounded extensive discovery.
                                                                         26   Third, the parties are all sophisticated, well-advised by able (and
                                                                         27   expensive) lawyers, and certainly not lacking in resources.
                                                                         28           Finally, additional factors convince the Court that the



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                                                                          1   Special Master appropriately weighed the burden of discovery.
                                                                          2   First, the objected deposition topic on the competitive
                                                                          3   intelligence program is only one of 26 topics to be covered at the
                                                                          4   30(b)(6) deposition -- the remainder of which Best Buy does not
                                                                          5   object to.   Furthermore, as Defendants state (and Best Buy does not
                                                                          6   dispute), the parties understood that Defendants would take further
                                                                          7   30(b)(6) deposition testimony once Best Buy completed document
                                                                          8   discovery.   Particularly when compared to the level of detail
                                                                          9   required by Interrogatories Nos. 16 and 17, examination on this
                                                                         10   issue in a 30(b)(6) deposition would entail significantly less
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                                                                         11   expenditure of time, money, and effort.        Further militating in
                                                                         12   favor of the deposition and against the interrogatories, the Court
                                                                         13   shares the Special Master's concern that requiring answers to the
                                                                         14   interrogatories may require Best Buy to go through a lengthy and
                                                                         15   expensive process of reviewing its competitive intelligence
                                                                         16   program's records to identify what may well be a large number of
                                                                         17   individuals who participated in the program.         It seems unlikely
                                                                         18   that this inquiry, if completed would lead to the discovery of
                                                                         19   significant evidence above that gained in the 30(b)(6) deposition.
                                                                         20   IV. CONCLUSION
                                                                         21        As a result, the Court AFFIRMS the Special Master's order
                                                                         22   granting in part and denying in part Best Buy's motion for a
                                                                         23   protective order and DENIES Best Buy's objection.
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                                                                         25        IT IS SO ORDERED.
                                                                         26
                                                                         27        Dated: July 28, 2014
                                                                                                                   UNITED STATES DISTRICT JUDGE
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